        Case 3:02-cv-00339-MO          Document 359     Filed 03/22/23    Page 1 of 7




Emily Cooper OSB #182254
ecooper@droregon.org
Thomas Stenson OSB #152894
tstenson@droregon.org
Disability Rights Oregon
511 SW 10th Avenue, Suite 200
Portland, Oregon 97205
(503) 243-2081
Counsel for Plaintiff, Disability Rights Oregon

Jesse Merrithew OSB #074564
jesse@lmhlegal.com
Levi Merrithew Horst PC
610 SW Alder Street, Suite 415
Portland, Oregon 97205
(971) 229-1241
Counsel for Plaintiff, Metropolitan Public Defender



                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

DISABILITY RIGHTS OREGON,                         Case No. 3:02-cv-00339-MO (Lead Case)
METROPOLITAN PUBLIC DEFENDER                      Case No. 3:21-cv-01637-MO (Member Case)
SERVICES INC., and A.J. MADISON,                  Case No. 6:22-cv-01460-MO (Member Case)

               Plaintiffs,
                                                  MOTION FOR ORDER REQUIRING
       vs.                                        MARION COUNTY SHERIFF’S OFFICE
                                                  TO TRANSPORT PATIENTS
JAMES SCHROEDER, in his official
capacity as head of the Oregon Health
Authority, and DOLORES MATTEUCCI, in
her official capacity as Superintendent of the
Oregon State Hospital,

               Defendants,

       and

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY


 MOTION FOR ORDER TO TRANSPORT - 1                              DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                     511 SW 10TH AVE, SUITE 200
                                                                    PORTLAND, OR 97205
                                                              T: 503.243.2081 | F: 503-243-1738
        Case 3:02-cv-00339-MO           Document 359     Filed 03/22/23     Page 2 of 7




HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES,

               Intervenors.

JAROD BOWMAN, JOSHAWN
DOUGLAS-SIMPSON,
                                                  Case No. 3:21-cv-01637-MO (Member Case)
               Plaintiffs,

DOLORES MATTEUCCI, Superintendent of
the Oregon State Hospital, in her individual
and official capacity, JAMES SCHROEDER,
Direction of the Oregon Health Authority, in
his official capacity, and PATRICK ALLEN
in his individual capacity,

               Defendants,

       and

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY                     Case No. 6:22-cv-01460-MO (Member Case)
HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES
OREGON,

               Plaintiffs,

       vs.

JAMES SCHROEDER, in his official
capacity as Director of Oregon Health
Authority,

               Defendant.




                                  LR 7-1 CERTIFICATION

       Plaintiffs conferred with Defendants regarding the relief sought and Defendants do not

oppose. Plaintiffs also conferred with counsel for Amici Judges (among the amici judges is the
 MOTION FOR ORDER TO TRANSPORT - 2                                DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                       511 SW 10TH AVE, SUITE 200
                                                                      PORTLAND, OR 97205
                                                                T: 503.243.2081 | F: 503-243-1738
         Case 3:02-cv-00339-MO           Document 359        Filed 03/22/23      Page 3 of 7




state court judge who issued the orders described herein), and counsel for Marion County

Sheriff’s Office (“MCSO”) (county counsel for Marion County, also an amicus in this matter).

Plaintiffs were unable to resolve this dispute with those third parties.

                                              MOTION

        Defendants are in violation of the Court’s September 1, 2022 order (“September order”)

with respect to four patients currently at the Oregon State Hospital (“OSH”). All four patients

were required to be discharged from OSH by March 15 at the latest. The commitment orders for

each of the patients order that the patient cannot be discharged without authorization of the state

court judge who committed them. When OSH attempted to discharge the patients, MCSO

refused to transport them, citing the state court judge’s order. In addition, the state court judge

sent a letter to Defendant Matteucci, informing her that if she discharged the patient, she would

be held in contempt in state court. To comply with this Court’s September order, Plaintiffs

request that the Court order the MCSO to transport the four patients.

                                   MEMORANDUM OF LAW

        This Court has the authority to order non-parties to act in compliance with its orders

under Fed. R. Civ. P. 65(d)(2). In relevant part, this rule states, that “(A) the parties; (B) the

parties’ officers, agents, servants, employees, and attorneys; and (C) other persons who are in

active concert or participation with” the parties listed above are bound by a court’s injunction

order if they received “actual notice” of the order. Fed. R. Civ. P. 65(d)(2). The Supreme Court

has previously interpreted this language to “allow injunctions to bind not only defendants but

also people ‘identified with them in interest, in “privity” with them, represented by them or

subject to their control.’” Cal. Chamber of Commerce v. Council for Educ. & Rsch. On Toxics,

29 F.4th 468, 483 (9th Cir. 2022), quoting Golden State Bottling Co. v. NLRB, 414 U.S. 168, 179

 MOTION FOR ORDER TO TRANSPORT - 3                                     DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                            511 SW 10TH AVE, SUITE 200
                                                                           PORTLAND, OR 97205
                                                                     T: 503.243.2081 | F: 503-243-1738
        Case 3:02-cv-00339-MO          Document 359        Filed 03/22/23     Page 4 of 7




(1973); Regal Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945). The moving party must also

demonstrate “by clear and convincing evidence that the alleged contemnor violated a ‘specific

and definite order of the court.’” FTC v. Affordable Media, 179 F.3d 1228, 1239 (9th Cir. 1999),

citing Stone v. City & County of San Francisco, 968 F.2d 850, 856 n.9 (9th Cir. 1992).

       Here, the MCSO has received actual notice of the order, at the very least they received

notice via conferral on this motion. The Court’s order is specific and definite: “No later than

March 15, 2023, patients currently admitted at OSH who have exceeded the length of restoration

set forth in this Order shall be discharged from their restoration commitment and from the

hospital.” Dkt. No. 271, at 4. MCSO is refusing to allow OSH to discharge these four patients in

clear violation of the Court’s order. Because the MCSO works in active concert and participation

with OSH to effectuate discharges, MCSO is within the scope of this Court’s authority under

Fed. R. Civ. P. 65(d)(2).

       In Oregon, the county sheriffs transport patients who are under ORS 161.370 orders to

and from OSH. In this role, then, the county sheriffs are charged with completing the patient

discharge process by returning the individuals to their county of origin. This relationship thus

makes the county sheriffs integral to OSH’s compliance with the September order, as OSH

cannot complete their required processes without them. Therefore, because the county sheriffs

must work with OSH and vice versa, the county sheriffs are active participants with OSH. This

means that MCSO—who was tasked with completing the discharge process pursuant to the

September order—should be ordered to comply pursuant to Fed. R. Civ. P. 65(d)(2).

       “Rule 65(d) does not empower the Court to enjoin a nonparty.” Swanberg v. Tro, No.

3:14-cv-00882-HZ, 2016 U.S. Dist. LEXIS 12586, at *7-8 (D. Or. Jan. 31, 2016). This rule does,

however, “authorize[] the Court to hold certain nonparties in contempt for violating an existing

 MOTION FOR ORDER TO TRANSPORT - 4                                  DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                         511 SW 10TH AVE, SUITE 200
                                                                        PORTLAND, OR 97205
                                                                  T: 503.243.2081 | F: 503-243-1738
        Case 3:02-cv-00339-MO           Document 359        Filed 03/22/23      Page 5 of 7




order as a way to ensure that a party cannot carry out a prohibited act.” Id., citing Class Plaintiffs

v. City of Seattle, 955 F.2d 1268, 1280 (9th Cir. 1992); Peterson v. Highland Music, Inc., 140

F.3d 1313, 1323 (9th Cir. 1998). In Peterson, for example, the court found the non-parties’

actions—granting licenses—were a necessary, albeit final, step in the party’s prohibited acts. 140

F.3d at 1324. This is because selling a license to the party encouraged them to continue

disobeying the court order to return the property and cease business dealings. Id. at 1323–24. As

such, the Court held that even though this specific conduct had not been prohibited, the non-

parties’ roles were integral to continuing the party’s prohibited conduct. Id. at 1324. Thus, the

Court found that the non-parties “flagrant[] and deliberate[]” assistance violated the court order

and allowed the non-parties to be held in contempt. Id. So, too, here. For the reasons stated

above, it is undisputed that MCSO is violating the September order and forcing OSH to carry out

a prohibited act—namely holding patients past their specified discharge date. And, MSCO’s role

is integral to continuing the prohibited conduct. Thus, this nonparty should be enjoined.

       Furthermore, to the extent the state court orders are contrary to this Court’s order, the

Supremacy Clause controls, and the state order is preempted. Article VI, paragraph II of the

Constitution states that federal laws, including federal court orders, are the “supreme law of the

land.” In articulating this authority in a federalism question, it has been noted that federal courts

should "exercise the least possible power adequate to the end proposed." Stone, 968 F.2d at 861,

citing Spallone v. United States, 493 U.S. 265, 280 (1990); see also Hoptowit v. Ray, 682 F.2d

1237, 1247 (9th Cir. 1982).

       But, “when the least intrusive measures fail to rectify the problems, more intrusive

measures are justifiable.” Stone, 968 F.2d at 861. This is because federal courts must protect

constitutional rights, allowing these courts to “possess whatever powers are necessary to remedy

 MOTION FOR ORDER TO TRANSPORT - 5                                    DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                           511 SW 10TH AVE, SUITE 200
                                                                          PORTLAND, OR 97205
                                                                    T: 503.243.2081 | F: 503-243-1738
        Case 3:02-cv-00339-MO           Document 359        Filed 03/22/23     Page 6 of 7




constitutional violations.” Id.; see also Hutto v. Finney, 437 U.S. 678, 687 n.9 (1978). The

Supreme Court has ruled that this responsibility means that “otherwise valid state laws or court

orders cannot stand in the way of a federal court's remedial scheme if the action is essential to

enforce the scheme.” Id. at 862. And, “[s]tate policy must give way when it operates to hinder

vindication of federal constitutional guarantees.” North Carolina State Bd. of Educ. v. Swann,

402 U.S. 43, 45 (1971). Thus, should state and local officials fail to resolve an issue, or actively

contribute to said issue, the federal court can “invoke its broad equity power to remedy the

situation.” Stone, 968 F.2d at 861, citing Hutto, 437 U.S. at 687 n.9. This power “should begin

with what is absolutely necessary[, but if] ineffective, more stringent [remedies] should be

considered.” Ruiz v. Estelle, 679 F.2d 1115, 1145–46 (5th Cir. 1982).

       Here, the District Court gave OSH and state authorities years to fix the issue of

discharging patients in an untimely manner. State officials failed to rectify the problem

repeatedly. So, the District Court issued the September Order to remedy the situation. Hutto, 437

U.S. at 688 n.9. Now, local officials are actively impeding the District Court’s remedial scheme.

In refusing to transport discharged patients—an essential part to completing the OSH discharge

process in compliance with the September Order—the Marion County Sheriff’s Office

undermines the District Court’s remedy. Stone, 968 F.2d at 861. In fact, the parameters

established in the Marion County state court orders make it impossible for OSH to

simultaneously comply with it and the September order. Therefore, the state order cannot stand.

North Carolina State Bd. of Educ., 402 U.S. at 45. Additionally, because state and local officials

are now contributing to the issue rather than resolving it, more stringent requirements should be

instated by the Federal court. Ruiz, 679 F.2d at 1145-46. It is thus equitable to compel the MCSO

to comply with the September order because their refusal to transport OSH patients actively

 MOTION FOR ORDER TO TRANSPORT - 6                                   DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                          511 SW 10TH AVE, SUITE 200
                                                                         PORTLAND, OR 97205
                                                                   T: 503.243.2081 | F: 503-243-1738
        Case 3:02-cv-00339-MO           Document 359         Filed 03/22/23    Page 7 of 7




impedes the federal court’s remedial scheme and contributes to the violation of these patients’

rights. North Carolina State Bd. of Educ., 402 U.S. at 45.

                                          CONCLUSION

       Pursuant to Fed. R. Civ. P 65(d)(2), the Marion County Sheriff’s Office should be

compelled to comply with the September order because they are active participants with a named

party, they had actual notice of the September order, and they consciously violate this order’s

terms. Additionally, this Court has broad equity power to resolve constitutional violations when

state and local officials fail to do so or actively impede federal remedies. Thus, this court has the

authority to contravene the state court orders to the extent they are contrary to this Court’s order.


       DATED this 22nd day of March, 2023.


                                                      DISABILITY RIGHTS OREGON

                                                      /s Emily Cooper
                                                      Emily Cooper OSB # 182254
                                                      ecooper@droregon.org
                                                      Thomas Stenson, OSB # 152894
                                                      tstenson@droregon.org
                                                      511 SW 10th, Suite 200
                                                      Portland OR 97205
                                                      Telephone: (503) 243 2081
                                                      Facsimile: (503) 243 1738
                                                      Counsel for Plaintiff DRO

                                                      LEVI MERRITHEW HORST PC

                                                      /s Jesse Merrithew
                                                      Jesse Merrithew OSB # 074564
                                                      jesse@lmhlegal.com
                                                      610 SW Alder Street, Suite 415
                                                      Portland, Oregon 97205
                                                      Telephone: (971) 229-1241
                                                      Facsimile: (971) 544-7092
                                                      Counsel for Plaintiffs MPD, Jarrod
                                                      Bowman, and Joshawn Douglas-Simpson
 MOTION FOR ORDER TO TRANSPORT - 7                                   DISABILITY RIGHTS OREGON
 (Case No. 3:02-cv-00339-MO)                                          511 SW 10TH AVE, SUITE 200
                                                                         PORTLAND, OR 97205
                                                                   T: 503.243.2081 | F: 503-243-1738
